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Judge: Robert W. Gettleman
Magistrate Judge: Jeffrey T. Gilbert
Filed: 04/07/2014                  UNITED STATES JUDICIAL PANEL
Case: 14cv2531                                  on
emt                                  MULTIDISTRICT LITIGATION


     IN RE: AIG WORKERS COMPENSATION INSURANCE
     POLICYHOLDER LITIGATION                                                                  MDL No. 2519


                                             TRANSFER ORDER


              Before the Panel:* Pursuant to 28 U.S.C. § 1407, moving defendants (hereafter referred to
     as the “AIG Defendants”)1 move for centralization of this litigation in the Northern District of Illinois
     or, alternatively, the District of New Jersey. This litigation currently consists of four actions pending
     in the Northern District of California, the Northern District of Illinois, the District of New Jersey, and
     the Southern District of New York, as listed on Schedule A.2 Plaintiffs in each of the four actions
     support centralization in the Northern District of Illinois.3

             On the basis of the papers filed,4 we find that these actions involve common questions of fact,
     and that centralization in the Northern District of Illinois will serve the convenience of the parties and
     witnesses and promote the just and efficient conduct of the litigation. All of the actions involve
     factual questions surrounding an alleged scheme by the AIG Defendants to underreport the amount
     of workers compensation insurance premiums they collected to state insurance departments.
     Purportedly as a result, the plaintiff workers compensation insurance policyholders were overcharged


             *
                 Judges Marjorie O. Rendell and Sarah S. Vance took no part in the decision of this matter.
             1
              The AIG Defendants are current and former insurance company subsidiaries of American
     International Group, Inc. (AIG). They include: AIG Risk Management Inc.; AIU Insurance
     Company; American Fuji Fire and Marine Insurance Company; American Home Assurance Company;
     American International Overseas Limited; Chartis Property Casualty Company n/k/a AIG Property
     Casualty Company; Commerce and Industry Insurance Company, Inc.; Granite State Insurance
     Company; Illinois National Insurance Company; The Insurance Company of the State of
     Pennsylvania; National Union Fire Insurance Company of Pittsburgh, PA; New Hampshire Insurance
     Company; and Yosemite Insurance Company.
             2
              The parties have notified the Panel of three related actions pending in the Middle District
     of Georgia, the Eastern District of Missouri, and the Eastern District of Pennsylvania. These and any
     other related actions are potential tag-along actions. See Panel Rule 7.1.
             3
             According to the AIG Defendants, defendant Maurice R. Greenberg, the only party not to
     respond to the motion to centralize, does not oppose the requested relief.
             4
                 The parties waived oral argument.
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                                                      -2-

 for certain surcharges and fees assessed by the states. All of the plaintiffs assert claims against the
 AIG Defendants for racketeering and conspiracy in violation of 18 U.S.C. § 1962, violation of various
 state consumer protection statutes, negligent misrepresentation, and unjust enrichment. These actions
 are primarily state-wide class actions, but one of the actions involves a putative multi-state class of
 policyholders that overlaps with the putative classes asserted in the other actions. Centralization will
 eliminate duplicative discovery; prevent inconsistent pretrial rulings, including with respect to class
 certification; and conserve the resources of the parties, their counsel, and the judiciary.

           We are persuaded that the Northern District of Illinois is the most appropriate transferee
 district for pretrial proceedings in this litigation. The Northern District of Illinois is a centrally located
 and convenient forum. All the parties advocate for assignment of this litigation to the Honorable
 Robert W. Gettleman, and we concur that he is a logical choice to serve as the transferee judge here.
 Judge Gettleman has extensive familiarity with the allegations underlying this litigation as a result of
 his presiding over two class actions brought against the AIG Defendants by their competitors, which
 involved allegations of injury based upon the same underreporting of workers compensation insurance
 premiums to state authorities. Accordingly, Judge Gettleman will be familiar with the allegations in
 this litigation, the workers compensation insurance industry and the regulatory regimes surrounding
 that industry, and the potential discovery and pretrial issues that could arise with respect to the AIG
 Defendants’ workers compensation business. Moreover, by selecting Judge Gettleman to preside
 over this matter, we are selecting a jurist with multidistrict litigation experience, but who is not
 presently presiding over such a litigation.

         IT IS THEREFORE ORDERED that pursuant to 28 U.S.C. § 1407, the actions listed on
 Schedule A and pending outside the Northern District of Illinois are transferred to the Northern
 District of Illinois and, with the consent of that court, assigned to the Honorable Robert W.
 Gettleman for coordinated or consolidated pretrial proceedings.


                                           PANEL ON MULTIDISTRICT LITIGATION



                                           __________________________________________
                                                          John G. Heyburn II
                                                              Chairman

                                           Charles R. Breyer                 Lewis A. Kaplan
                                           Ellen Segal Huvelle                      A TRUE COPY-ATTEST
                                                                                THOMAS G. BRUTON, CLERK
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                                                                             U.S. DISTRICT COURT, NORTHERN
                                                                                    DISTRICT OF ILLINOIS
                                                                                                  -
                                                                                           April 9, 2014
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 IN RE: AIG WORKERS COMPENSATION INSURANCE
 POLICYHOLDER LITIGATION                                                MDL No. 2519


                                        SCHEDULE A


             Northern District of California

       FRANJO, INC. V. AMERICAN INTERNATIONAL GROUP, INC., ET AL.,               14cv2529
            C.A. No. 4:13-04685

             Northern District of Illinois

       BEACH MEDICAL MARKETING, INC. V. AMERICAN INTERNATIONAL
           GROUP, INC., ET AL., C.A. No. 1:13-08250

             District of New Jersey

       JPS COLLISION, INC. V. AMERICAN INTERNATIONAL GROUP, INC.,               14cv2531
             ET AL, C.A. No. 2:13-05990

             Southern District of New York

       JAYARVEE, INC., ET AL. V. AMERICAN INTERNATIONAL GROUP, INC.,             14cv2532
            ET AL., C.A. No. 1:13-07137
